                                               Friday, March 25, 2005, 9:53am
     Case 4:09-cr-00043-SPF Document 75-11 Filed in USDC ND/OK on 06/01/09 Page 1 of 1
                                  REQUESTOR:      30142205
                                 ICS HISTORY    TRANSCRIPT
   CASE TIN: XXX-XX-XXXX           CASE NAME: LINDSEY        K SPRINGER



 SYSTEMIC   HISTORY:   UNDO
REOPENING   CIP INVENTORY     ERRONEOUSLY   CREATED   CIP           00000001




ACT DT: 09/03/2004      SYS DT: 09/07/2004     CONTACT:     OTHER    CREATE    ID: 30012713
  GENERAL HISTORY

CI requested copies of photos made copies on discs of the photos                 taken in
compatable format.



ACT DT: 09/07/2004     SYS DT: 09/07/2004      CONTACT:     OTHER    CREATE    ID: 30012713
  GENERAL HISTORY

Provided photo disc to CI.




ACT DT: 09/08/2004     SYS DT: 09/08/2004      CONTACT:   OTHER      CREATE    ID: 30012713
  GENERAL HISTORY

Met with Donna Meadors - she is receiving the summons information today and
has meeting scheduled at 9:30 with taxpayer. I will be able to be part of the
interview process and make initial contact. I will be provided with copies of
the summons documents first thing tommorrow morning which will allow me
ninimal time to review and develop additional interview questions - reviewing
file and developing interview questions for tommorrows meeting. Taxpayer has
not filed a return since at least 1990 - all bal dues are SFR and Donna is
sure he will challenge the assessments.
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ACT DT: 09/14/2004     SYS DT: 09/14/2004      CONTACT:   OTHER      CREATE    ID: 30012713
  GENERAL HISTORY

;poke with Donna Meadors - she informed taxpayer of my involvement and he was
10t happy about same - she also informed him that the summonsed info would be
)rovided to me - she is sending third party contacts to all names uncovered
:hrough the summons process and will be interviewing them. She did not go

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